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                   EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

____________________________________
UNITED STATES OF AMERICA             )
                                     )
               v.                    )
                                     )                       Criminal No. 1:15-cr-10323
(1) DANIEL P. GIBSON, and            )
(2) MARK KESNER                      )
                                     )
            Defendants.              )
____________________________________)

                              [PROPOSED] PROTECTIVE ORDER

        The Court hereby ORDERS as follows:

        1.      This Court, having heard the objections and concerns of the government and

Behman Hambelton, has ordered production to defendants of imaged copies of a server obtained

from third-parties that was the subject of motions to compel (Doc. Nos. 42 & 43), subject to certain

exceptions agreed upon by the parties (the “Server Copies”).

        2.      The Server Copies may be used solely in the prosecution and defense of the above-

captioned matter, and for no other purpose and in connection with no other proceeding.

        3.      Defendants Daniel P. Gibson and Mark Kesner, and the Government, shall not

disclose any materials taken from the Server Copies pursuant to this order to any person except the

parties, those assisting the parties and their counsel in the prosecution or defense of this matter,

persons who are interviewed as potential witnesses, potential experts, or Court personnel, and then

only during the course of the prosecution and defense of this case.

        4.      Materials taken from the Server Copies shall not be copied or reproduced except as

necessary to provide copies of the material for use by an authorized person as described above to

prepare or assist in the prosecution or defense, and all such copies and reproductions will be treated
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in the same manner as the original matter.

       5.      When providing materials taken from the Server Copies to an authorized person,

counsel for the party providing such materials must inform the authorized person that the materials

are provided subject to the terms of this Protective Order and that the authorized person must

comply with the terms of this Protective Order.

       6.      No Party shall place in the public record during any pretrial or trial proceeding or for

any other purpose any document which may contain confidential or privileged information of any

Gibson & Behman client learned in the course of the provision of legal services to any such client

without first identifying the document and providing all other parties, Behman Hambelton, LLP,

and the identified client with notice of any intention to rely on such document and the opportunity to

object to any disclosure.

       7.      Pursuant to Federal Rule of Evidence 502(d), it is hereby ordered that disclosure of

materials taken from the Server Copies to the parties and others authorized by the terms hereof shall

not be deemed a waiver of any privilege or protection otherwise applicable to such materials.

       8.      Nothing contained in the Protective Order will preclude any party from applying

to the Court for further relief or for modification of any provision hereof.

       9.      The rights and constraints created by this Order shall not apply retrospectively to

any material obtained by a party prior to the date of this Order.



Dated: May ___, 2016


                                                               BY THE COURT:


                                                               ____________________________
                                                               Donald L. Cabell
                                                               United States Magistrate Judge
                                                  2
